     Case 1:17-cv-11008-MLW Document 343 Filed 06/04/18 Page 1 of 21



                     UNITED STATES DISTRICT COURT
                      DISTRICT OF MASSACHUSETTS


JANSSEN BIOTECH, INC.,

                 Plaintiff,
                                     No. 1:17-cv-11008
     v.

CELLTRION HEALTHCARE CO., LTD.,      PUBLIC-
CELLTRION, INC., and                 REDACTED VERSION
HOSPIRA, INC.

                 Defendants.


  REPLY IN SUPPORT OF DEFENDANTS’ MOTION FOR PARTIAL SUMMARY
   JUDGMENT THAT THERE WERE AVAILABLE AND ACCEPTABLE NON-
        INFRINGING ALTERNATIVES TO THE ASSERTED PATENT
       Case 1:17-cv-11008-MLW Document 343 Filed 06/04/18 Page 2 of 21



                                                TABLE OF CONTENTS

                                                                                                                                       Page

I.     Introduction ......................................................................................................................... 1

II.    Argument ............................................................................................................................ 4

       A.         No Dispute Of Material Fact That The Modified Media Is Non-Infringing........... 4

       B.         No Dispute of Material Fact That The Modified Media Is “Available” ............... 13

       C.         No Dispute of Material Fact That The Modified Media Is “Acceptable” ............ 14

III.   Conclusion ........................................................................................................................ 15




                                                                    i
           Case 1:17-cv-11008-MLW Document 343 Filed 06/04/18 Page 3 of 21



                                               TABLE OF AUTHORITIES

                                                                                                                              Page(s)

Cases

Advanced Steel Recovery, LLC v. X-Body Equip., Inc.,
   808 F.3d 1313 (Fed. Cir. 2015)......................................................................................1, 4, 5, 7

Am. Calcar, Inc. v. Am. Honda Motor Co.,
   651 F.3d 1318 (Fed. Cir. 2011)..........................................................................................1, 2, 8

Dolly, Inc. v. Spalding & Evenflo Companies, Inc.,
   16 F.3d 394 (Fed. Cir. 1994)............................................................................................ passim

Eagle Comtronics, Inc. v. Arrow Commc’n Labs., Inc.,
   305 F.3d 1303 (Fed. Cir. 2002)........................................................................................2, 9, 10

Grain Processing Corp. v. Am. Maize-Prod. Co.,
   185 F.3d 1341 (Fed. Cir. 1999)....................................................................................13, 14, 15

L-3 Communications Corporation v. Sony Corporation,
   971 F. Supp. 2d 437 (D. Del. 2013) .........................................................................................11

Overhead Door Corp. v. Chamberlain Grp., Inc.,
   194 F.3d 1261 (Fed. Cir. 1999)..................................................................................................9

Perkin-Elmer Corp. v. Westinghouse Elec. Corp.,
   822 F.2d 1528 (Fed. Cir. 1987)............................................................................................3, 11

Power Integrations, Inc. v. Fairchild Semiconductor Int’l, Inc.,
   843 F.3d 1315 (Fed. Cir. 2016)........................................................................................ passim

Sage Prod., Inc. v. Devon Indus., Inc.,
   126 F.3d 1420 (Fed. Cir. 1997)..........................................................................................1, 2, 9

Standard Havens Products, Inc. v. Gencor Industries, Inc.,
   953 F.2d 1360 (Fed. Cir. 1991)................................................................................................15

TIP Sys., LLC v. Phillips & Brooks/Gladwin, Inc.,
   529 F.3d 1364 (Fed. Cir. 2008)......................................................................................1, 4, 8, 9

Warner-Jenkinson Co. v. Hilton Davis Chemical Co.,
  520 US 17 (1997) ...................................................................................................................4, 6




                                                                    ii
            Case 1:17-cv-11008-MLW Document 343 Filed 06/04/18 Page 4 of 21



I.         Introduction

           Janssen’s opposition makes three arguments, but all are legal error, and none create a

genuine dispute of material fact.

           First, Janssen argues that claim vitiation would not occur if its claims were construed to

cover a media containing only one of two required magnesium ingredients. But, in fact, that is

classic claim vitiation, because one element would be missing entirely. Janssen argues that it can

avoid vitiation, and instead prove equivalence, if the media compensates for the elimination of one

required magnesium ingredient by increasing the concentration of the other required magnesium

ingredient. That is not the law.

           In fact, the Federal Circuit has already rejected that very argument. “A patentee, bearing

the burden of showing equivalence, cannot merely point to other claim limitations to satisfy the

doctrine of equivalents,” which would run afoul of the Supreme Court’s “all-elements rule”

requiring “special vigilance against allowing the concept of equivalence to eliminate completely”

claim elements. Advanced Steel Recovery, LLC v. X-Body Equip., Inc., 808 F.3d 1313, 1320 (Fed.

Cir. 2015).1

           Here, Janssen is “merely point[ing] to [an]other claim limitation[]”—the other required

magnesium ingredient—to supply equivalence for the missing magnesium ingredient. Janssen’s

argument makes no sense. One claim element would still be missing entirely. And the Federal

Circuit has already repeatedly rejected Janssen’s argument in indistinguishable cases. E.g., Power

Integrations, Inc. v. Fairchild Semiconductor Int’l, Inc., 843 F.3d 1315 (Fed. Cir. 2016) (reversing

jury verdict of infringement by equivalents); Dolly, Inc. v. Spalding & Evenflo Companies, Inc.,

16 F.3d 394, 399 (Fed. Cir. 1994) (reversing summary judgment of infringement by equivalents);



1
    All emphasis added. Internal quotations and citations omitted in this brief unless otherwise noted.
        Case 1:17-cv-11008-MLW Document 343 Filed 06/04/18 Page 5 of 21



Sage Prod., Inc. v. Devon Indus., Inc., 126 F.3d 1420, 1429 (Fed. Cir. 1997) (affirming summary

judgment of no infringement by equivalents), TIP Sys., LLC v. Phillips & Brooks/Gladwin, Inc.,

529 F.3d 1364, 1376-77 (Fed. Cir. 2008) (same), Am. Calcar, Inc. v. Am. Honda Motor Co., 651

F.3d 1318, 1338 (Fed. Cir. 2011) (same).

       Under long settled law, infringement requires proof that “every element in the claim is

literally or equivalently present in the accused device.” Sage, 126 F.3d at 1423. If, say, magnesium

chloride were eliminated, the compensating increase in magnesium sulfate would still meet the

requirement for magnesium sulfate literally (if the concentration matched the required

concentration) or equivalently (if the concentration was “insubstantially” outside that range). But

in either case, magnesium chloride would still be missing entirely. That is vitiation.

       Janssen attempts to avoid this settled law by citing irrelevant rules that apply to different

circumstances. It has long been settled that “[e]quivalency can also exist when separate claim

limitations are combined into a single component of the accused device.” Dolly, 16 F.3d at 398.

In other words, equivalency can be established without vitiation as follows:

       • Combined Elements: Element A and Element B are equivalent to Combined AB.

By contrast, vitiation does occur upon an attempt to prove equivalence as follows:

       • Missing Element: Element A and Element B are equivalent to Element A alone.

Janssen is ignoring this important distinction. Cases like Eagle Comtronics, Inc. v. Arrow Commc'n

Labs., Inc., 305 F.3d 1303, 1317 (Fed. Cir. 2002), which Janssen relies on heavily, deal with the

combined elements scenario, where the patentee combined two claimed elements into a single

structure.

       By contrast, cases like Power Integrations, which Defendants cite, deal with a missing

element. Another case like Power Integrations, for instance, is American Calcar, which likewise




                                                 2
        Case 1:17-cv-11008-MLW Document 343 Filed 06/04/18 Page 6 of 21



held that “finding a signal from one source to be equivalent to ‘signals from a plurality of sources’

[at least two] would vitiate that claim limitation by rendering it meaningless.” Am. Calcar, 651

F.3d at 1339. Another example is Dolly, where the Federal Circuit rejected an equivalence

argument that “one element of the accused device fulfills two functions,” simultaneously providing

“both” one required element “and” the missing claim element. Dolly, 16 F.3d at 398-399.

       “[T]he doctrine of equivalents… is not designed to permit wholesale redrafting of a claim

to cover non-equivalent devices.” Perkin-Elmer Corp. v. Westinghouse Elec. Corp., 822 F.2d

1528, 1532 (Fed. Cir. 1987). But that is exactly what would happen if the complete absence of a

required element could still infringe the claims. Courts cannot “convert a multi-limitation claim to

one of [fewer] limitations to support a finding of equivalency.” Id. Janssen’s doctrine-of-

equivalents argument fails as a matter of law.

       Second, Janssen argues the alternative is not “available on the date of first infringement”

because it would have taken a month to several months to implement. Opp. at 10. But the argument

fails because the right time to ascertain “availability” is the accounting period, not the date of first

infringement, a legal error the Defendants thoroughly debunked when opposing Janssen’s motion

for summary judgment of no non-infringing alternatives. Dkt. 303 at 14-18.

       Third, Janssen argues that the modified media would not be “acceptable” to Celltrion

because its legal team “would [not] actually consider the trivial changes reflected in the Modified

Media” to be “non-infringing.” Opp. at 18. That is not the law. The “acceptability” of the

alternative looks at whether it is accepted in the marketplace—which helps establish the economic

value of the claimed invention—not whether lawyers supposedly would be comfortable with the

alternative’s legal status. How would anyone ever prove that anyway? Put lawyers on the stand?

Nonsense. If this Court rules it is non-infringing, then it is not infringing, period.




                                                   3
        Case 1:17-cv-11008-MLW Document 343 Filed 06/04/18 Page 7 of 21



       As a matter of law, the elimination of a required ingredient, a magnesium ingredient, would

be a non-infringing alternative. Summary judgment should be granted.

II.    Argument

       None of Janssen’s three arguments has any merit.

       A.      No Dispute Of Material Fact That The Modified Media Is Non-Infringing

       Janssen argues that the proposed modified media would infringe under the doctrine of

equivalents because using one required magnesium ingredient allegedly is equivalent to using two

required magnesium ingredients. Opp. at 4-10. The Federal Circuit has repeatedly rejected

Janssen’s theory.

       Under the “all elements rule,” the accused product must contain “elements identical or

equivalent to each claimed element of the patented invention.” Warner-Jenkinson Co. v. Hilton

Davis Chemical Co., 520 US 17, 40 (1997). In that analysis, the “doctrine of equivalents cannot

extend or enlarge the scope of the claims.” Dolly, 16 F.3d at 398. Nor is it “a license to ignore

claim limitations.” Id.

       “Each element contained in a patent claim is deemed material to defining the scope of the

patented invention, and thus the doctrine of equivalents must be applied to individual elements of

the claim, not to the invention as a whole.” Warner-Jenkinson, 520 U.S. at 29. “It is important to

ensure that the application of the doctrine, even as to an individual element, is not allowed such

broad play as to effectively eliminate that element in its entirety.” Id.

       Accordingly, “[a] patentee, bearing the burden of showing equivalence, cannot merely

point to other claim limitations to satisfy the doctrine of equivalents. Doing so runs afoul of the

‘all-elements rule.’” Advanced Steel, 808 F.3d at 1320. While there “need not be a one-to-one

correspondence between elements of the accused device and the claimed invention that does not

condone ignoring a claimed limitation in assessing infringement under the doctrine of equivalents.


                                                  4
        Case 1:17-cv-11008-MLW Document 343 Filed 06/04/18 Page 8 of 21



Such a holding would be contrary to the ‘all elements’ rule.” TIP Sys., 529 F.3d at 1376-77.

       In other words, while an accused product might combine elements A and B into a single

combined component AB, both A and B must still be present at least equivalently. At the same

time, the patentee cannot—as Janssen attempts to do here—assert that element A is equivalent to

element B and therefore infringement requires only element A. That would violate the “all

elements” rule. A patentee’s “attempt to establish that the [accused product] functions in

substantially the same way as the claimed invention by reference only to other claim elements

does not satisfy its burden on the doctrine of equivalents.” Advanced Steel, 808 F.3d at 1320.

       That is settled law. Janssen attempts to distort the case law to show otherwise, but it fails.

It cannot distinguish any of Defendants’ cited cases, including Power Integrations, which reversed

a jury’s infringement finding because “not using two distinct signals to control voltage and current

can’t be equivalent to using distinct signals—the signals are either distinct or they aren’t.” Power

Integrations, 843 F.3d at 1344. “A finding to the contrary” would violate the rule against vitiation

because it “would render the requirement that the feedback signals be ‘distinct’… meaningless.”

Id.

       So too here. A media using only one required ingredient to supply magnesium “can’t be

equivalent” to the claims requiring two ingredients to supply magnesium, which would plainly

render “meaningless” and thus vitiate the requirement of two sources of magnesium.

       Janssen makes much of the fact that Power Integrations construed the claims to explicitly

require that the “second feedback signal be ‘distinct from the first feedback signal.’” Power

Integrations, 843 F.3d at 1342. That makes no difference. Janssen is referring to the Federal

Circuit’s application of an unappealed claim construction, where the claim language did not

necessarily require two separate signals (i.e., two elements) as opposed to allowing one combined




                                                 5
        Case 1:17-cv-11008-MLW Document 343 Filed 06/04/18 Page 9 of 21



signal carrying information associated with two different sources (i.e., one element): “a first

feedback signal associated with a voltage control loop and a second feedback signal associated

with a current control loop.” Id. at 1338. After the district court held that “second feedback signal

be ‘distinct from the first feedback signal,’” nobody appealed, meaning there were two separate

and distinct elements. Id. at 1342. Therefore, the Court held that “vitiation” occurred upon a jury

verdict finding DOE infringement for a product “contain[ing] a single feedback signal, not two

‘distinct’ feedback signals as required by the claims.” Id at 1344.

       Here, the claim language on its face requires two separate and distinct elements. Janssen

has never argued otherwise. Nor could it.



        Dkt. 298, JSOF at Resp. to ¶ 2; Dkt. 260 Ex. 3, Butler Inv. Reb. ¶ 162. The claims do so

by listing those two ingredients separately and specifically, and giving each ingredient its own

required concentration amount: “anhydrous MgCl2, 15-50 mg;” and “anhydrous MgSO4, 20-80

mg.” Id. Indeed, Dr. Butler opined



Dkt. 260 Ex. 3, Butler Inv. Reb. ¶ 147.

       Janssen also makes much of fact that the Federal Circuit in Power Integrations discussed

the importance having two separate feedback signals, citing the inventor’s trial testimony about

the “difficulty” of creating two signals and his assertion that it “is what distinguished the claimed

invention from the prior art.” Power Integrations, 843 F.3d at 1344. But nowhere does the Federal

Circuit hold that vitiation turns on the importance of the missing claim element, where vitiation

would somehow be barred for allegedly “important” elements but allowed for allegedly

“unimportant” elements.




                                                 6
       Case 1:17-cv-11008-MLW Document 343 Filed 06/04/18 Page 10 of 21



       The notion is absurd. Janssen itself chose to require two distinct magnesium ingredients in

its claims. And the Supreme Court has definitively held—while discussing vitiation—that “[e]ach

element contained in a patent claim is deemed material.” Warner-Jenkinson, 520 U.S. at 29.

Moreover, for its validity position, Janssen specifically relies on its claims’ required inclusion of

a long list of separate and distinct ingredients.




       In any event, other cases reach the same conclusion as Power Integrations in equally

indistinguishable circumstances, where, again, the Federal Circuit specifically rejects efforts to

“merely point to other claim limitations” to argue for equivalence for a missing element. Advanced

Steel, 808 F.3d at 1320.

       A good example is Dolly, which was about a claimed “child’s chair,” where the claim

“require[ed] a stable rigid frame independent of seat and back panels,” while the accused product

“lack[ed] a stable rigid frame separate from the panels.” 16 F.3d at 396, 398. In the trial court, the

patentee prevailed on the doctrine of equivalents by arguing—similar to Janssen here—that other

claim limitations supplied the missing “stable rigid frame,” asserting that “one element of the

accused device fulfills two functions of the claimed chair—the [accused chair’s back and seat]

panels serve as both the stable rigid frame and the body supporting feature.” Id. at 398-399.

       Based on vitiation, the Federal Circuit reversed and specifically rejected that argument,

which, again, is precisely what Janssen is arguing here. The Court noted that equivalency can




                                                  7
       Case 1:17-cv-11008-MLW Document 343 Filed 06/04/18 Page 11 of 21



“exist when separate claim limitations are combined into a single component of the accused

device” (16 F.3d at 396, 398-399) (i.e., element A and element B can be equivalent to an accused

device with combined AB). But the Court declined to extend that concept to an argument that one

claim element is equivalent to two claim elements, in which case the absent element “cannot work

in ‘substantially the same way’” given that the “limitation (including its equivalent) is missing.”

Id. at 398-400. The Court explained:

       [T]he concept of equivalency cannot embrace a structure that is specifically
       excluded from the scope of the claims. A stable rigid frame assembled from the seat
       and back panels is not the equivalent of a separate stable rigid frame which the
       claim language specifically limits to structures exclusive of seat and back panels.

Id. at 400. Thus, the Court declined—in a holding that controls here too—to “convert a multi-

limitation claim to one of [fewer] limitations to support a finding of equivalency.” Id. at 399.

       The Federal Circuit in Am. Calcar v. Am. Honda Motor similarly held that “finding a signal

from one source to be equivalent to ‘signals from a plurality of sources’ would vitiate that claim

limitation by rendering it meaningless.” 651 F.3d at 1339. Here, likewise, “finding [magnesium]

from one source to be equivalent to ‘[magnesium] from a plurality of sources’ would vitiate that

claim limitation” requiring two magnesium sources, thus “rendering it meaningless.”

       In another indistinguishable case, the Federal Circuit in TIP Sys. v. Phillips &

Brooks/Gladwin again rejected an effort to prove equivalence for one missing claim element by

pointing to another claim clement. 529 F.3d at 1377. The claims in TIP required both a “phone

housing” and a “handle.” Id. The Court thus rejected the argument that the “phone housing” in the

accused product could satisfy both limitations. Id. It found “no merit” in the “argument that the

phone housing substitutes for the handle,” because any such finding would “be contrary to the ‘all

elements’ rule.” Id. Although “there need not be a one-to-one correspondence between elements

of the accused device and the claimed invention, that does not condone ignoring a claimed



                                                 8
       Case 1:17-cv-11008-MLW Document 343 Filed 06/04/18 Page 12 of 21



limitation in assessing infringement under the doctrine of equivalents.” Id. Thus, the Court held it

could not “find that the housing in the accused device functions as an equivalent of the ‘handle’ in

the patented invention without rendering the ‘housing’ limitation meaningless.” Id.

       That holding controls here too. This Court cannot “find that [the first required magnesium

ingredient] in the accused [media] functions as an equivalent of the [second required magnesium

ingredient] in the patented invention without rendering the [first required magnesium ingredient]

meaningless.” TIP Sys. v. Phillips & Brooks/Gladwin, 529 F.3d at 1377. In other words, classic

vitiation occurs when a patent argues that claim element A is equivalent to claim element B and

therefore DOE infringement can be established with element A alone.

       Yet another good example is Sage Products, Inc. v. Devon Industries, Inc. is on point. 126

F.3d at 1423-1424. There, the patent holder argued infringement by equivalents of a “disposal

container” patent based on two distinct limitations, “top of the container” and “over said slot.” Id.

at 1424. But none of its infringement theories “simultaneously satisfied” both limitations at the

same time. Id. Similar to Janssen here, the patentee was “essentially” arguing that “having two

constrictions below the top of the container is the same, for purposes of infringement, as having

one constriction above and one constriction below.” Id. The Federal Circuit rejected that argument

based on the “all elements” rule, finding that “the doctrine of equivalents does not grant [the

patentee] license to remove entirely the ‘top of the container’ and ‘over said slot’ limitations from

the claim. Id.; accord Overhead Door Corp. v. Chamberlain Grp., Inc., 194 F.3d 1261, 1271 (Fed.

Cir. 1999) (noting that the “proposed application of the doctrine in Sage Products would have

utterly written out of the claim not one, but at least two (maybe more) express limitations of the

claim” and similarly noting that “[n]o matter how the patentee purported to apply the claim to the

accused device under the doctrine, the device was always missing at least one limitation.”)




                                                 9
       Case 1:17-cv-11008-MLW Document 343 Filed 06/04/18 Page 13 of 21



       Janssen cannot distinguish any of these cases. So instead, it relies on Eagle, which

addresses a different circumstance where “separate claim limitations are combined into a single

element of the accused device.” 305 F.3d at 1317. In Eagle, the accused device combined two

different limitations into one structure. The claims recited “a collet assembly” “comprising… a

front cap… [and] a rear insert body.” Id at 1310. As shown below, the accused collet assembly did

not have a separate “front cap” (yellow) and “rear insert body” (green); rather it had an

“‘integrated’ insulation block” (blue). Id.

                Eagle Patent                              Accused Product in Eagle




Id. at 1308, 1311 (colors added). Thus, Eagle was about the unremarkable situation where the

patentee argues that elements A and B are equivalent to a combined AB in the accused structure.

       But Eagle is irrelevant to the current situation, where one element is missing entirely.

Nobody is arguing that the proposed non-infringing media combines the two required magnesium

ingredients into one multi-ingredient additive. One ingredient is just missing. The remaining

source of magnesium could satisfy the limitation for that required ingredient, either literally or

equivalent depending on its concentration. But the other required magnesium ingredient would

remain missing entirely. Again, classic vitiation.

       Ultimately, Janssen’s effort to keep this case alive by constantly ignoring claim limitations

is almost jaw dropping. According to Janssen, the ’083 patent’s claim limitations mean nothing at



                                                 10
       Case 1:17-cv-11008-MLW Document 343 Filed 06/04/18 Page 14 of 21



all as long at the media is capable of growing cells. Janssen says the concentration limitations don’t

matter, and can equivalently cover concentrations reaching at least as high as 400% over the upper

limit and as low as only 10% of the lower limit the accused media. Dkt. 228 ¶ 20. Indeed, Janssen’s

experts have argued that equivalent concentrations can be extended to even thousand-fold

differences: “there’s a broad plateau of interchangeable concentrations in cell media, you know,

sometimes it’s extremely broad, 2500 times.” Dkt. 260 at Resp. to ¶ 11.

       Janssen is now saying that the ingredient list doesn’t matter either. In most instances,

Janssen’s claims specify a single ingredient to provide a single component required for growth.

But even for those ingredients, Janssen’s current theory would allow it to cover media using a

completely different list of ingredients to supply those same components. Even worse, in addition

to specifying two sources of magnesium (MgSO4 and MgCl2), the claims recite three sources of

iron (FeSO4.7H2O, Fe(NO3)3.9H2O, ferric ammonium citrate) and two sources of phosphate

(NaH2PO4.H2O, Na2HPO4). JSOF at Resp. to ¶ 2. Under Janssen’s current equivalence theory,

therefore, an accused media could still infringement by equivalence if it eliminated entirely four

required ingredients, leaving one source each for magnesium, iron, and phosphate.

       The Court has to reject Janssen’s constant effort to ignore its claim limitations. Enough is

enough. The doctrine of equivalents simply does not “permit wholesale redrafting of a claim to

cover non-equivalent devices.” Perkin-Elmer Corp. v. Westinghouse Elec. Corp., 822 F.2d 1528,

1532 (Fed. Cir. 1987). The bottom line is that “[a] single element is the antithesis of the

requirement for two separate and distinct elements.” L-3 Communications Corporation v. Sony

Corporation, 971 F. Supp. 2d 437, 445-46 (D. Del. 2013) (granting summary judgment of non-

infringement under the doctrine of equivalents). That is precisely why the modified media cannot

infringe under the doctrine of equivalents. A single magnesium source is the antithesis of the




                                                 11
       Case 1:17-cv-11008-MLW Document 343 Filed 06/04/18 Page 15 of 21



requirement for two separate and distinct magnesium sources. The modified media is a non-

infringing alternative.

        In addition to the lack of any genuine dispute on that issue, Dr. Butler’s deposition provides

yet another reason for this Court to reject Janssen’s infringement theory—specifically, Janssen

represented infringement was not in dispute to justify an instruction not to answer, thus shutting

down any questioning on the issue in blatant violation of Federal Rule of Civil Rule of Procedure

30(c)(2). On March 21, 2018, Dr. Frohlich provided his report explaining how the magnesium

substitution was a non-infringing alternative. Dkt. 247 Ex. 1, Frohlich Rep. ¶ 273. On April 10,

2018, Dr. Butler submitted his reply report without offering a counter opinion,

                                                                                     Dkt. 244 Ex. 1,

Butler Damages Reply ¶ 112.

        During Dr. Butler’s deposition on April 17, 2018, Defendants then attempted to probe Dr.

Butler’s position on how infringement of the patent could be avoided. Janssen’s attorney blocked

any question with a wholly improper instruction not answer, contending there was no dispute in

this area:




Ex. 1, Butler 4/17/18 Dep. Tr. at 307:12-308:13. On that same basis, Janssen’s counsel instructed



                                                 12
        Case 1:17-cv-11008-MLW Document 343 Filed 06/04/18 Page 16 of 21



Dr. Butler not to answer a total of at least four times on issues surrounding non-infringing

alternatives. See id. at e.g. 300:17-308:13; see also id. 215:20-218:2 (cf. Dkt. 244 Ex. 1, Butler

Damages Reply ¶ 89 (regarding infringement dispute)); 249:6-250:22, 252:14-255:10, and 261:20-

262:21 (cf. Dkt. 247 Ex. 1, Frohlich Rep. ¶ 119, 176).

        Defendants were therefore shocked to see infringement raised for the first time in Janssen’s

opposition to Defendants motion for summary judgment. This is especially egregious given

Janssen’s recognition that the amount of magnesium sulfate in the alternative is over the claimed

limit. Dkt. 297 at 10 n.5. Having shut down questions as to how the patent could be avoided, as

well as representing that “infringement is not in dispute” for the “alternatives on the table,”

Janssen’s course reversal on this alternative should be rejected.

        B.     No Dispute of Material Fact That The Modified Media Is “Available”

        Janssen argues that magnesium alternative was not “‘readily available’ as of the date of

first infringement” because it would take Celltrion “a matter of months” to substitute it for the

accused media. Opp. at 12, 15. That’s not the issue, however. The only relevant question in a lost

profits analysis is whether the alternative is “available” as of the accounting period. That is

precisely what Grain Processing and its progeny require. Defendants fully address and refute

Janssen’s misstatement of law in opposing Janssen’s motion for summary judgment of no non-

infringing alternatives. Dkt. 303 at 14-18. Defendants incorporate those arguments here by

reference.

        When looking at availability under the right legal framework, there is no dispute of material

fact.

                                                                                            meaning

that Celltrion could indisputably release a biosimilar infliximab made using the modified media

no later than the accounting period. Dkt. 303.


                                                 13
       Case 1:17-cv-11008-MLW Document 343 Filed 06/04/18 Page 17 of 21



       Janssen takes issue with the amount of delay, claiming that its expert did not consider other

important factors leading to further delay, concluding that it would actually take “months to

substitute the modified media for the accused media.” Opp. at 12. Even if Janssen did have

evidence to back up that assertion, that dispute is not material. Whether the delay was a single

month, or multiple “months” as Janssen alleges, there is no dispute—and Janssen never even

addresses—that Defendants could get a biosimilar infliximab product on the market as of the

accounting period.

       Janssen also argues that the modified media is “purely theoretical” in the sense that

Defendants have never implemented it. Opp. at 16-17. But there is no requirement that a substitute

be actually implemented in the real world to qualify, and in fact, Grain Processing says just the

opposite. Grain Processing Corp. v. Am. Maize-Prod. Co., 185 F.3d 1341, 1350-1351 (Fed. Cir.

1999). Nor is there anything scientifically “theoretical” about the modification.



                                                                   Ex. 1, Butler 4/17/18 Dep. Tr. at

115:24-116:13; JSOF at Resp. to ¶ 12; Opp. at 4. That makes this exactly the type of alternative

that one must consider as a limit on a request for lost profits. Id.

       Janssen also attacks the implementation of other alternative courses of action in the “real”

world, arguing that they would not work. Opp. at 16-17. But, even putting aside the factual

inaccuracies of Janssen’s opposition, such arguments about the technical feasibility of other

alternatives is irrelevant to the current motion.

       Janssen’s various “availability” arguments cannot save it from summary judgment.

       C.      No Dispute of Material Fact That The Modified Media Is “Acceptable”

       Janssen argues that the modified media is not acceptable because “Celltrion would not have

risked that such a modification… would turn out not to avoid the patent.” Opp. at 18 (quoting Dkt.

                                                    14
       Case 1:17-cv-11008-MLW Document 343 Filed 06/04/18 Page 18 of 21



247 Ex. 13, Lit Reply Report ¶ 107). But no case says that, and that is not the law. Whether or not

a substitute is “acceptable” turns on whether the substitute shares the “advantages of the patented

product” and whether “purchasers in the marketplace generally were willing to buy the patented

product for its advantages.” Standard Havens Products, Inc. v. Gencor Industries, Inc., 953 F.2d

1360, 1373 (Fed. Cir. 1991).

       It literally has nothing to do with whether the purchaser (here Celltrion) would have

considered the substitute non-infringing under the case law. No case has ever said that and Janssen

cites none. It also makes no sense, since the existence of a non-infringing alternative reflects on

the economic value of the claimed invention. Grain Processing, 185 F.3d at 1351. How would

anyone even present evidence about this hypothetical “uncertainty” about the law? A legal expert?

Because if so, Defendants hereby seek leave to add a legal expert to explain that eliminating an

ingredient is a classic way of avoiding infringement given long-settled vitiation rules. But

ultimately this is an issue for the Court. If the Court finds the proposed alternative media non-

infringing, that finding would be binding on both parties. It is not a matter for the jury.

       As to whether the modified media would have been acceptable to the marketplace—which

is the only question that matters—there is no dispute. Janssen and its expert admit that the

difference between the modified media and the accused media (which of course works for its

intended purpose) is “inconsequential” and “utter[ly] trivial[].” Opp. at 2-3, 4. Janssen agrees the

change “would make no difference from a scientific perspective.” Id. Janssen’s acceptability

arguments thus do not avoid summary judgment either.

III.   Conclusion

       For the reasons above, the Court should grant summary judgment that Janssen has failed

to prove the absence of non-infringing alternatives and preclude Janssen from seeking lost profits.




                                                 15
     Case 1:17-cv-11008-MLW Document 343 Filed 06/04/18 Page 19 of 21



Dated: June 4, 2018                Respectfully submitted,

                                   Celltrion Healthcare Co., Ltd., Celltrion, Inc.,
                                   and Hospira, Inc.

                                   By their attorneys,

                                   /s/Andrea L. Martin, Esq.
                                   Dennis J. Kelly (BBO # 266340)
                                   Andrea L. Martin (BBO #666117)
                                   BURNS & LEVINSON LLP
                                   125 Summer Street
                                   Boston, MA 02110-1624
                                   Tel: 617-345-3000
                                   dkelly@burnslev.com
                                   amartin@burnslev.com

                                   James F. Hurst, P.C. (pro hac vice)
                                   Bryan S. Hales, P.C. (pro hac vice)
                                   Elizabeth A. Cutri (pro hac vice)
                                   Gregory B. Sanford (pro hac vice)
                                   KIRKLAND & ELLIS LLP
                                   300 North LaSalle
                                   Chicago, IL 60654
                                   Tel: (312) 862-2000
                                   james.hurst@kirkland.com
                                   bryan.hales@kirkland.com
                                   elizabeth.cutri@kirkland.com
                                   gregory.sanford@kirkland.com

                                   Ryan Kane (pro hac vice)
                                   James McConnell (pro hac vice)
                                   KIRKLAND & ELLIS LLP
                                   601 Lexington Avenue
                                   New York, NY 10022
                                   Tel: (212) 446-4800
                                   ryan.kane@kirkland.com
                                   james.mcconnell@kirkland.com

                                   Noah S. Frank (pro hac vice)
                                   KIRKLAND & ELLIS LLP
                                   655 Fifteenth St., N.W.
                                   Washington, DC 20005
                                   Tel: (202) 879-5000
                                   noah.frank@kirkland.com




                                    16
Case 1:17-cv-11008-MLW Document 343 Filed 06/04/18 Page 20 of 21



                              Charles B. Klein (pro hac vice)
                              WINSTON & STRAWN LLP
                              1700 K Street, N.W.
                              Washington, D.C. 20006-3817
                              Tel: (202) 282-5000
                              cklein@winston.com

                              Samuel S. Park (pro hac vice)
                              Dan H. Hoang (pro hac vice)
                              WINSTON & STRAWN LLP
                              35 W. Wacker Drive
                              Chicago, IL 60601-9703
                              Tel: (312) 558-7931
                              spark@winston.com
                              dhoang@winston.com

                              Attorneys for Defendants Celltrion Healthcare
                              Co., Ltd., Celltrion, Inc., and Hospira, Inc.




                               17
        Case 1:17-cv-11008-MLW Document 343 Filed 06/04/18 Page 21 of 21



                                 CERTIFICATE OF SERVICE

        I, Andrea L. Martin, hereby certify that this document filed through the ECF system will

be sent electronically to the registered participants as identified on the Notice of Electronic Filing

(NEF) and paper copies will be sent to those indicated as non-registered participants on June 4,

2018.


                                               /s/Andrea L. Martin, Esq.
                                               Andrea L. Martin, Esq.
